











Opinion issued August 27, 2009








&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;












In The
Court of Appeals
For The
First District of Texas




NO. 01-09-00727-CV 




IN RE KRISTOFER THOMAS KASTNER, Relator




Original Proceeding on Petition for Writ of Mandamus




MEMORANDUM OPINION
&nbsp;
&nbsp;
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Relator, Kristofer Thomas Kastner, has filed a petition for writ of mandamus
complaining that respondent


 has ordered that discovery be abated until relator “pays
the cost of court.”  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We deny the petition for writ of mandamus.
PER CURIAM
Panel consists of Justices Jennings, Alcala, and Higley.


